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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

 8 UNITED STATES OF AMERICA,

 9                                Plaintiff,             Case No. MJ13-170

10          v.                                           DETENTION ORDER

11 SON PHAM,

12                                Defendant.

13 Offense charged:

14          Attempted Collection of Extensions of Credit by Extortionate Means.

15 Date of Detention Hearing: April 12, 2013.

16          The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f),

17 and based upon the factual findings and statement of reasons for detention hereafter set forth,

18 finds that no condition or combination of conditions which the defendant can meet will

19 reasonably assure the appearance of the defendant as required and the safety of any other person

20 and the community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          The government proffered defendant played a leadership role in this extortion allegation

23 and ensured that a gun was present at the time the alleged collection attempt was made. After



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 1 defendant was charged, the government proffered that additional threats of violence were made

 2 to numerous individuals. The government proffered defendant is engaged in other serious

 3 criminal conduct including substantial fraud. Defendant also appears to be involved in

 4 counterfeiting as $37,000 in counterfeit bills were seized from his home. Defendant’s

 5 representations about his finances do not add up. He claimed a large monthly income and then

 6 claimed to have little knowledge about his income. The government presented evidence showing

 7 that the income defendant reported to the state does not match the income he presented to the

 8 pretrial office. Given all of these factors, defendant presents a danger to the community.

 9          It is therefore ORDERED:

10          (1)    Defendant shall be detained pending trial and committed to the custody of the

11 Attorney General for confinement in a correctional facility separate, to the extent practicable,

12 from persons awaiting or serving sentences, or being held in custody pending appeal;

13          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

14 counsel;

15          (3)    On order of a court of the United States or on request of an attorney for the

16 Government, the person in charge of the correctional facility in which Defendant is confined

17 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

18 connection with a court proceeding; and

19          (4)    The Clerk shall direct copies of this order to counsel for the United States, to

20 counsel for the defendant, to the United States Marshal, and to the United States Pretrial Services

21 Officer.

22          DATED this 12th day of April, 2013.

23
                                                          A
                                                          BRIAN A. TSUCHIDA
                                                          United States Magistrate Judge
     DETENTION ORDER - 2
